       Case 3:17-cv-00101-RDM Document 468 Filed 05/19/20 Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,

             Plaintiff,                         Case No. 3:17-CV-00101-RDM
                                                (Hon. Robert D. Mariani)
             v.

Navient Corporation, et al.,                    Electronically Filed

             Defendants.

           PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 56(a) and Local Rule 56.1,

Plaintiff Consumer Financial Protection Bureau respectfully moves for summary

judgment in its favor and against Defendants with respect to liability on all claims

in the complaint. As described in the accompanying brief, if summary judgment is

granted in the Bureau’s favor, the sole issues remaining for adjudication would be

the amount of monetary remedies to assess against Defendants for their violations

of federal consumer financial laws (including consumer redress, disgorgement, and

civil penalties), and appropriate injunctive relief to impose on Defendants to

prevent them from continuing to violate federal consumer financial laws.

      A proposed order is being filed with this motion. The Bureau’s supporting

brief, statement of undisputed material facts, and exhibits were transmitted to the

Court for filing under seal.
      Case 3:17-cv-00101-RDM Document 468 Filed 05/19/20 Page 2 of 4




Dated: May 19, 2020         Respectfully submitted,

                            Thomas G. Ward
                            Enforcement Director

                            David Rubenstein
                            Deputy Enforcement Director

                            Thomas Kim
                            Assistant Deputy Enforcement Director

                               /s/ Nicholas Jabbour
                            Nicholas Jabbour, DC 500626
                            (Nicholas.Jabbour@cfpb.gov; 202-435-7508)
                            Ebony Sunala Johnson, VA 76890
                            (Ebony.Johnson@cfpb.gov; 202-435-7245)
                            Nicholas Lee, DC 1004186
                            (Nicholas.Lee@cfpb.gov; 202-435-7059)
                            Manuel Arreaza, DC 1015283
                            (Manuel.Arreaza@cfpb.gov; 202-435-7850)
                            Andrea Matthews, MA 694538
                            (Andrea.Matthews@cfpb.gov; 202-435-7591)
                            Jonathan Reischl, IL 6305260
                            (Jonathan.Reischl@cfpb.gov; 202-435-9202)
                            Enforcement Attorneys

                            1700 G Street NW
                            Washington, DC 20552
                            Fax: 202-435-9346

                            Attorneys for Plaintiff




                                     2
       Case 3:17-cv-00101-RDM Document 468 Filed 05/19/20 Page 3 of 4




                 CERTIFICATE OF NONCONCURRENCE

      Pursuant to Local Rule 7.1, I certify that I sought concurrence in this motion

from counsel for Defendants, and that such concurrence was denied.



                                        /s/ Nicholas Jabbour
                                      Nicholas Jabbour, DC 500626
                                      Nicholas.Jabbour@cfpb.gov
                                      1700 G Street NW
                                      Washington, DC 20552
                                      Phone: 202-435-7508
                                      Fax: 202-435-9346

                                      Attorney for Plaintiff
       Case 3:17-cv-00101-RDM Document 468 Filed 05/19/20 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that, on May 19, 2020, I filed the foregoing document using the

Court’s ECF system, which will send notification of such filing to counsel for

Defendants.

                                        /s/ Nicholas Jabbour
                                      Nicholas Jabbour, DC 500626
                                      Nicholas.Jabbour@cfpb.gov
                                      1700 G Street NW
                                      Washington, DC 20552
                                      Phone: 202-435-7508
                                      Fax: 202-435-9346

                                      Attorney for Plaintiff
